     Case 1:25-cv-00381-ABJ                Document 128-11           Filed 04/26/25   Page 1 of 2

 From:           Paoletta, Mark (Detailee)(CFPB)
 To:             Martinez, Adam (CFPB); Shapiro, Daniel (Detailee)
 Cc:             Dorfman, Victoria (Detailee)
 Subject:        RE: job codes for review and approval
 Date:           Wednesday, April 16, 2025 4:46:00 PM



 Adam,

 We approve the retention numbers set forth in this Excel spreadsheet.

 Thanks for your work on this.

 Mark

 From: Martinez, Adam (CFPB) <Adam.Martinez@cfpb.gov>
 Sent: Wednesday, April 16, 2025 4:29 PM
 To: Paoletta, Mark (Detailee)(CFPB) <Mark.Paoletta@cfpb.gov>; Shapiro, Daniel (Detailee)
 <Daniel.Shapiro@cfpb.gov>
 Cc: Dorfman, Victoria (Detailee) <Victoria.Dorfman@cfpb.gov>
 Subject: RE: job codes for review and approval

 Thank you, Daniel for catching the pivot table issue.

        OFLEO AD has been fixed and shows in the correct box
        Senior Advisor has been fixed and shows under Private Sector

 As you pointed out, Daniel, we used the Southeast Region to pull the examiner
 population because it encumbers Washington, DC and the cost of living is
 significantly lower for most of these employees. This would be a better locality pay
 outcome. We also chose it because of its proximity to multiple economical airports
 include Atlanta and the office was staff up the most. This allows us to abolish the
 other three regions preventing additional work based on the competitive area.

 Adam Martinez
 Chief Operating Officer

 From: Martinez, Adam (CFPB)
 Sent: Wednesday, April 16, 2025 3:26 PM
 To: Paoletta, Mark (Detailee) <Mark.Paoletta@cfpb.gov>; Shapiro, Daniel (Detailee)
 <daniel.shapiro@cfpb.gov>
 Cc: Dorfman, Victoria (Detailee) <Victoria.Dorfman@cfpb.gov>
 Subject: job codes for review and approval

 Mark/Daniel –

 We just finished the tedious task of going through all the positions to make sense of


                                                                                         CFPB_00668
DX-11_001
    Case 1:25-cv-00381-ABJ       Document 128-11      Filed 04/26/25    Page 2 of 2




what specific positions to retain we can be overlayed in our register. We have to use
the job codes to convert to the competitive levels, which triggers the bump and
retreat.

Based on our discussion yesterday, we went through and tagged positions and
reconciled them to 208. It’s actually going to 207 because the Director is not counted
in the register.

Please take a look at the master pivot table (“Employee Counts”) to see the
distribution consistent with your approved list from last night. The only difference is
that you will see a small bump up in the Legal Division’s Law and Policy team. The
bump up is to keep attorneys to help with litigation, which gets us to the 17 approved.
We can only retain filled positions.

The tab “Position Retention” gives you the positions we labelled essential for
retention. These equal of up 207 and you can see what positions would be retained in
the register.

My team is current using the codes to update the register. Once we receive your
feedback, we will make any necessary changes at that time.

Adam




                                                                            CFPB_00669




DX-11_002
